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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


                                      MDL No. 2860
                            IN RE: Manetirony Clervrain Litigation


                                  NOTICE OF APPEARANCE


PARTIES REPRESENTED

Defendants:    United States of America
               Bureau of Prisons

SHORT CASE CAPTION

Clervrain v. United States of America and Bureau of Prisons, Civ. No. 5:17-cv-03194 (D. Kan.)

       In compliance with Rule 4.1(c), the following designated attorney is authorized to file
and receive service of all pleadings, notices, orders, and other papers relating to practice before
the Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated.
I am aware that only one attorney can be designated for each party.

       July 5, 2018                            /s/ Robin R. Anderson
       Date                                    Signature of Attorney

Name and Address of Designated Attorney:

Robin R. Anderson, Assistant United States Attorney, U.S. Attorney’s Office for the District of
Kansas, 500 State Avenue, Suite 360, Kansas City, Kansas 66101

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Email Address: Robin.Anderson@usdoj.gov
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Dated: July 5, 2018                                    Respectfully submitted,


                                                       STEPHEN R. MCALLISTER
                                                       United States Attorney
                                                       District of Kansas

                                                       s/ Robin R. Anderson
                                                       ROBIN R. ANDERSON
                                                       Assistant United States Attorney
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                                      PROOF OF SERVICE

         I certify that on July 5, 2018, this document was electronically filed using the CM/ECF
system, which will send a notice of electronic filing to all counsel of record. I further certify that
a file-stamped copy of this document will be mailed by first-class mail to the pro se plaintiff at:

       Manetirony Clervrain
       96396-004
       Moshannon Valley Correctional Institution
       555 GEO Drive
       Philipsburg, PA 16866


                                               s/ Robin R. Anderson
                                               ROBIN R. ANDERSON
                                               Assistant United States Attorney
